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PLAINTIFFS’ EXHIBIT D
12/6/22, 4:46 PM    Case 1:21-cv-04607-MKV Document     47-4v. Belleau
                                            FW: Re: CG3 Media   Filed-Correspondence
                                                                       12/06/22 Page 2 of 7
  FW: Re: CG3 Media v. Belleau -Correspondence
  From: dkeyhani@keyhanillc.com <dkeyhani@keyhanillc.com>
  Sent: Sat, Dec 3, 2022 at 2:08 pm
  To:   Scott Draffin




  -----Original Message-----
  From: "dkeyhani@keyhanillc.com" <dkeyhani@keyhanillc.com>
  Sent: Friday, March 4, 2022 1:29pm
  To: "dkeyhani@keyhanillc.com" <dkeyhani@keyhanillc.com>
  Cc: "Bryon Wasserman" <bryon@radip.com>,
  "fstephenson@keyhanillc.com" <fstephenson@keyhanillc.com>,
  "aengel@keyhanillc.com" <aengel@keyhanillc.com>, "Etai
  Lahav" <etai@radip.com>, "Paralegals" <paras@radip.com>
  Subject: Re: CG3 Media v. Belleau -Correspondence

  Counsel- Plaintiffs have produced all non-privileged documents
  responsive to Defendant's request for documents that have been
  located and has made social media accounts public. CG3 has also
  produced all source source relating to the CG3's accused system
  (nothing has been withheld).

  We also wanted to touch base regarding scheduling of
  depositions. Blake Ellison has very limited availability for a
  deposition this month because he is beginning a new job. He can
  be available 4 pm Eastern on March 8 or 10th, otherwise we will
  need to push back his deposition to April.

  Darius

  -----Original Message-----
  From: "dkeyhani@keyhanillc.com" <dkeyhani@keyhanillc.com>
  Sent: Tuesday, February 15, 2022 9:01am
  To: "Bryon Wasserman" <bryon@radip.com>
https://apps.rackspace.com/versions/webmail/19.0.22-RC/popup.php?wsid=a741ba55f0f4490dba90ad1da5b3a21d-282e06437cad4ea9b470d922683…   1/6
12/6/22, 4:46 PM    Case 1:21-cv-04607-MKV Document     47-4v. Belleau
                                            FW: Re: CG3 Media   Filed-Correspondence
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  Cc: "fstephenson@keyhanillc.com"
  <fstephenson@keyhanillc.com>, "aengel@keyhanillc.com"
  <aengel@keyhanillc.com>, "Etai Lahav" <etai@radip.com>,
  "Paralegals" <paras@radip.com>
  Subject: Re: CG3 Media v. Belleau -Correspondence

  Counsel- We disagree with your characterization of the parties’
  meet and confer and Plaintiff’s representations. Subject to
  Plaintiffs’ objections made in their Responses and Objections to
  Interrogatories and Requests for Production and Supplemental
  Responses and Objections to Requests for Interrogatories,
  Plaintiffs are searching for additional documents that are
  responsive to Defendant’s Requests and will produce non-
  privileged documents to the extent they exist by the end of the
  month.

  Plaintiffs are looking into any additional source code or related
  documents and will supplement their production accordingly.
  Plaintiffs will not produce customer lists with identifying
  information of individual customers or Corey Griffin’s personal
  bank statements, as these are outside the scope of discovery. With
  respect to Belleau’s interrogatories, Plaintiff disagrees with
  Belleau’s position and Plaintiff’s responses are in full compliance
  with the Court’s Local rules.

  Per our meet and confer, we understand that Belleau will be
  producing all of its relevant financial information by the end of the
  month and Plaintiffs reserve their right to assess Belleau’s
  compliance with its discovery obligations at that time including
  with respect to other categories of documents.

  Plaintiffs are in compliance with all of their discovery obligations,
  there is no issue to raise with the Court. Plaintiff will pursue
https://apps.rackspace.com/versions/webmail/19.0.22-RC/popup.php?wsid=a741ba55f0f4490dba90ad1da5b3a21d-282e06437cad4ea9b470d922683…   2/6
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  attorneys’ fees and costs in connection with defending against a
  meritless motion should Belleau raise one.


  Darius
  -----Original Message-----
  From: "Bryon Wasserman" <bryon@radip.com>
  Sent: Saturday, February 12, 2022 9:37pm
  To: "dkeyhani@keyhanillc.com" <dkeyhani@keyhanillc.com>
  Cc: "fstephenson@keyhanillc.com"
  <fstephenson@keyhanillc.com>, "aengel@keyhanillc.com"
  <aengel@keyhanillc.com>, "Etai Lahav" <etai@radip.com>,
  "Paralegals" <paras@radip.com>
  Subject: Re: CG3 Media v. Belleau -Correspondence




https://apps.rackspace.com/versions/webmail/19.0.22-RC/popup.php?wsid=a741ba55f0f4490dba90ad1da5b3a21d-282e06437cad4ea9b470d922683…   3/6
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  Dear Darius

  We write to follow up on Tuesday’s call. We have summarized it
  below.

  Requests for Production

  During the meet and confer we discussed the documents missing
  from Plaintiffs’ production that are set forth in greater detail in our
  letter. We find it hard to reconcile the numerous missing categories
  of documents with your representations that (A) you have
  performed a nearly complete collection and production (B) are not
  withholding any responsive non-privileged documents. Indeed, at
  several points you questioned the relevance of different categories
  of missing documents such as portions of the source code, email
  communications, social media postings, and consumer surveys,
  which suggests to us that you are withholding documents
  intentionally.

  As noted on the call we are willing to forego moving to compel at
  this time if Plaintiffs adhere to the representations it made during
  the call. If yet again these representations turn out to be inaccurate,
  we will proceed with Court intervention.

  To wit, we understand that Plaintiffs represent that they will
  conduct a complete search for all of the outstanding categories of
  documents other than (A) customer lists containing identifying
  information for individual customers and (B) Mr. Griffin’s
  personal bank accounts and that Plaintiffs would produce
  those documents before the end of the month. We also understand
  that other than for privilege and the two categories above,
  Plaintiffs will not be withholding any non-privileged documents
  according to its objections. You stated that you will provide a
https://apps.rackspace.com/versions/webmail/19.0.22-RC/popup.php?wsid=a741ba55f0f4490dba90ad1da5b3a21d-282e06437cad4ea9b470d922683…   4/6
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  written representation that you have performed a complete search
  for all responsive documents with your production and produced
  them.

  With respect to specific items, you confirmed that you would make
  Mr. Griffin’s previously hidden social media public again and that
  no contents have been deleted. You represented that you would, to
  the extent that it has not been produced, produce all source code
  for the operation of Speakflow that is in Plaintiffs’ possession
  custody or control. You represented that you would produce CG3’s
  bank statements and other financial documents showing all
  transfers of funds between Plaintiffs. Additionally, you confirmed
  that the above search would include Mr. Griffin and CG3’s emails.

  During our call you contended that CG3 has produced itemized
  cost information. However, we have not been able to identify
  anything other than single topline cost entry. To the extent that this
  has been produced, please identify the locations of these
  documents.

  We discussed a potential compromise on category (A), above
  which we will get back to you on and we reserve the right to move
  for production of category (B) if the other financial information is
  not otherwise sufficient.

  Interrogatories

  CG3’s position is it is not obligated to respond to interrogatories
  other than those seeking categories of documents and witnesses
  until after depositions have been taken. Belleau does not believe
  that this position is supported by the rules and has not received any
  authority from you in support of your position. We believe that this
  issue is now ripe for Court intervention.
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